Case 1:20-cv-00484-RDA-TCB Document 588 Filed 03/25/22 Page 1 of 11 PageID# 15268




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                               ALEXANDRIA DIVISION

  AMAZON.COM, INC. and AMAZON DATA
  SERVICES, INC.,
              Plaintiffs,
        v.
  WDC HOLDINGS LLC dba NORTHSTAR
  COMMERCIAL PARTNERS; BRIAN
  WATSON; STERLING NCP FF, LLC;
  MANASSAS NCP FF, LLC; NSIPI
  ADMINISTRATIVE MANAGER; NOVA
  WPC LLC; WHITE PEAKS CAPITAL LLC;
  VILLANOVA TRUST; CASEY
  KIRSCHNER; ALLCORE DEVELOPMENT                 CASE NO. 1:20-CV-484-RDA-TCB
  LLC; FINBRIT HOLDINGS LLC;
  CHESHIRE VENTURES LLC; CARLETON
  NELSON; JOHN DOES 1-20,
              Defendants.

  800 HOYT LLC,
              Intervening Interpleader
              Plaintiff / Intervening
              Interpleader Counter-
              Defendant,
        v.
  BRIAN WATSON; WDC HOLDINGS, LLC;
  PLW CAPITAL I, LLC; BW HOLDINGS;
  LLC,
              Interpleader Defendants,
        and
  AMAZON.COM, INC., and AMAZON DATA
  SERVICES, INC.,
              Interpleader Defendants /
              Interpleader Counter-Plaintiffs.



                MEMORANDUM IN SUPPORT OF PLAINTIFFS’
         MOTION TO WITHDRAW AND SUBSTITUTE VERIFICATIONS AND
           CERTAIN DECLARATIONS AND FOR PROTECTIVE ORDER
Case 1:20-cv-00484-RDA-TCB Document 588 Filed 03/25/22 Page 2 of 11 PageID# 15269




           Plaintiffs Amazon.com, Inc. and Amazon Data Services, Inc. (collectively, “Plaintiffs” or

  “Amazon”) hereby respectfully move to withdraw certain 2020 verifications, to withdraw and file

  a substitute for certain declarations, and for a protective order disallowing three depositions of

  Amazon’s litigation counsel.

                                       Preliminary Statement

           This motion seeks leave to withdraw certain attorney verifications and to withdraw and

  replace certain attorney declarations filed in this case. These submissions were signed by three

  current and former members of Amazon’s outside counsel team. The attorneys who made these

  submissions did so on the basis of their review of documents and information received from or

  otherwise known to Amazon. However, the submissions mistakenly included form language stat-

  ing that the attorneys who signed them did so based on “personal knowledge.” Exs. 1-8. The

  pleadings that accompanied these submissions did not require verifications at all, or any attesta-

  tions by individuals with “personal knowledge” of the facts described therein. Amazon and its

  counsel regret and voluntarily wish to address the erroneous “personal knowledge” language in

  the submissions, which was recently brought to the attention of Amazon’s counsel when Defend-

  ants served notices seeking to depose the attorneys who signed the submissions at issue. To that

  end, Amazon respectfully seeks leave to withdraw the verifications accompanying its 2020 com-

  plaints and to withdraw and replace the declarations accompanying its 2020 complaints and April

  2020 request for preliminary injunctive relief. Amazon also seeks leave to file a single, new sub-

  stitute declaration from a company representative that contains the only attestations required for

  the 2020 pleadings that were supported by the withdrawn declarations, in the correct terms and the

  form attached to this motion. Ex. 9.1


  1
      For the reasons set forth below, Amazon respectfully submits that no verifications were needed
Case 1:20-cv-00484-RDA-TCB Document 588 Filed 03/25/22 Page 3 of 11 PageID# 15270




          Amazon further requests that the Court enter a protective order preventing Defendants

  from deposing the attorneys who signed the verifications and declarations at issue. Defendants

  maintain they need to depose these attorneys to obtain discovery into the underlying facts de-

  scribed in those pleadings. But as Amazon’s counsel explained to Defendants in volunteering to

  correct the “personal knowledge” references in the 2020 submissions, the attorneys who verified

  the relevant 2020 pleadings were familiar with the facts pled based on their review of documents

  or information known or provided to Amazon, not through contemporaneous participation in the

  events at issue in this case. Accordingly, these attorneys do not possess knowledge that would

  satisfy the test for counsel depositions the Court addressed at the March 11 hearing. Dkt. 577.

  Amazon thus asked Defendants to withdraw their deposition notices and pursue the discovery they

  seek from other sources, including an appropriate subset of the 88 topics of Rule 30(b)(6) testi-

  mony they have requested. Defendants declined this offer, and insist they are entitled to probe the

  knowledge of Amazon’s current and former litigation counsel for hours despite being told that

  those attorneys have no unique personal knowledge of the facts underlying this case.

         Allowing such depositions would serve no legitimate purpose, because the noticed attor-

  neys have no information that would satisfy the legal showing required for deposing a party’s

  litigation counsel, namely: that the deponents have non-privileged information that is crucial to

  this case and cannot be obtained from any other source. Dkts. 550, 574, 577. Accordingly, the

  depositions would simply permit Defendants to burden and harass the noticed attorneys and Am-

  azon with examinations that would end-run the law and this Court’s March 11 ruling regarding




  for the 2020 complaints filed in this action, and that the attestations in the attached form declaration
  are proper and legally sufficient substitutes for all of the 2020 declarations addressed herein. If
  the Court concludes otherwise, Amazon would be pleased to submit substitute verifications for the
  complaints and/or a different form of declaration(s) for the Court’s consideration.

                                                     2
Case 1:20-cv-00484-RDA-TCB Document 588 Filed 03/25/22 Page 4 of 11 PageID# 15271




  depositions of counsel. Dkt. 577. Amazon thus respectfully requests a protective order under the

  privilege law addressed below and in the Court’s recent ruling. Id.

                                              Background

         On March 11, 2022, the Court entered a protective order prohibiting Defendants from de-

  posing one of Amazon’s in-house counsel (Dennis Wallace). Dkt. 577. That order validated priv-

  ilege objections to Mr. Wallace’s deposition (and counsel depositions generally) that Amazon

  properly raised at the end of February. It was only after Amazon raised these objections that

  Defendants Brian Watson and WDC Holdings, LLC requested the depositions of the two former

  Gibson Dunn attorneys who submitted the 2020 verifications addressed in this filing.2 And De-

  fendants waited until after the protective order actually issued to request the deposition of the third

  (current) Gibson Dunn attorney, who signed the declarations addressed in this motion. In consid-

  ering all of these deposition requests, Amazon reviewed the signed submissions at issue and ad-

  vised defense counsel that the noticed attorneys only reviewed information about this case in their

  capacity as Amazon’s outside counsel, and that as such they had no “personal knowledge” that

  would be a proper target for discovery.3 Amazon then offered to withdraw the submissions that

  had mistakenly referenced these attorneys’ personal knowledge of various facts, and offered to



  2
     Defendants never challenged the sufficiency of Amazon’s attorney verifications and declara-
  tions in contesting the relevant pleadings or Amazon’s requests for preliminary relief that this
  Court granted in 2020, Dkts. 1, 10, 21, 41-46, 57, and the Fourth Circuit affirmed last year,
  Dkt. 318-319.
  3
     The relevant submissions were filed in support of Amazon’s September 18, 2020 Second
  Amended Complaint, Dkt. 150 at 130 and Dkt. 155 (refiled as Dkts. 156–63); Amazon’s August
  4, 2020 Corrected First Amended Complaint, Dkt. 100 at 104, and Dkt. 106 (refiled as Dkts. 107–
  111); and Amazon’s Motion for Preliminary Injunction, Dkts. 12, 12-40, and 12-43, and Com-
  plaint, Dkt. 1 at 57. See Exs. 1–8. The declaration relating to the motion for preliminary relief,
  Dkt. 12, was devoted primarily to exhibit identification, and referenced personal knowledge only
  of the facts addressed in the declaration. See id. The preliminary injunction itself was supported
  by independent evidence including three declarations from other witnesses. Dkts. 43, 44, 46.


                                                    3
Case 1:20-cv-00484-RDA-TCB Document 588 Filed 03/25/22 Page 5 of 11 PageID# 15272




  provide an appropriate substitute with corrected language to support its relevant pleadings.

  I.      Amazon’s Substitute Declaration Is Proper and Legally Sufficient

          The 2020 verifications and declarations at issue in this motion were submitted with Ama-

  zon’s 2020 complaints and April 2020 request for preliminary relief. Exs. 1-8. Accordingly, it is

  necessary to look to the law governing those pleadings to determine what supporting statements

  they required in 2020, and what statements could properly be substituted now. The following three

  legal principles establish that the proposed declaration attached to this motion is proper and legally

  sufficient support for all of the 2020 pleadings that required attestations.

          First, civil complaints do not require verification even when they accompany requests for

  ex parte emergency relief under Federal Rule of Civil Procedure 65(b), because that rule allows

  such relief on the basis of a “verified complaint or affidavit” addressing the “specific facts” re-

  quired for relief. Fed. R. Civ. P. 65(b). Second, the federal statute that governs the form of “ver-

  ifications” required by federal “rules” (which include Rule 65) states that affidavit requirements

  can be satisfied by declarations in which signers “declare (or certify, verify, or state) under penalty

  of perjury that the foregoing [information] is true and correct.” 28 U.S.C. § 1746(2). Third, even

  where a verified complaint is necessary or otherwise filed, it does not require declarations from

  individuals with “personal knowledge” of the facts pled. See, e.g., United States v. 8 Gilcrease

  Lane Quincy Fla. 32351, 587 F. Supp. 2d 133, 139 (D.D.C. 2008) (explaining that even “a decla-

  ration or certification that includes the disclaimer ‘to the best of my knowledge information or

  belief’ is sufficient” at the pleadings stage, because verified complaints “must only ‘state suffi-

  ciently detailed facts to support a reasonable belief that the [plaintiff] will be able to meet its burden




                                                      4
Case 1:20-cv-00484-RDA-TCB Document 588 Filed 03/25/22 Page 6 of 11 PageID# 15273




  of proof at trial’”) (quotation marks and emphasis omitted).4

         Under the foregoing law, Amazon was not required to file verifications for its 2020 com-

  plaints, and there was no need for the 2020 declarations to be submitted based on “personal

  knowledge.” The wealth of direct evidence Amazon submitted via exhibits attached to a declara-

  tion signed under penalty of perjury amply supported the temporary relief Amazon obtained in

  April 2020. See Gilcrease, 587 F. Supp. 2d 133, 139 (applying 28 U.S.C. § 1746(2)).5 And the

  May 2020 preliminary injunction the Fourth Circuit unanimously affirmed last year, Dkt. 319, was

  supported by even more direct evidence as well as three independent witness declarations, includ-

  ing one from Mr. Doden, Dkt. 44,6 the Amazon representative the company now proffers as the

  substitute declarant on the statements addressed in this motion, see Ex. 9. Accordingly, the record

  supporting even the earliest order Amazon requested and received in 2020 exceeded what was

  legally required for preliminary relief, which can be based on complaints verified “on information

  and belief” and then supported with additional evidence. See, e.g., JTH Tax, Inc. v. Aime, 2016

  WL 4182743, at *5 (E.D. Va. Aug. 3, 2016) (granting preliminary injunction based in part on facts

  pled upon “information and belief”); Synthes USA, LLC v. Davis, 2017 WL 5972705, at *1 n.2



  4
    See also, e.g., Surowitz v. Hilton Hotels Corp., 383 U.S. 363, 370–71 (1966) (allowing derivative
  suit to proceed on the basis of a complaint that was “verified” under Fed. R. Civ. P. 23 “not on the
  basis of [the signer’s] own knowledge and understanding, but in the faith that her son-in-law had
  correctly advised her either that the statements in the complaint were true or to the best of his
  knowledge he believed them to be true”).
  5
    See also, e.g., V’Guara Inc. v. Dec, 925 F. Supp. 2d 1120, 1123 (D. Nev. 2013) (granting TRO
  after noting that “the urgency of obtaining a preliminary injunction necessitates a prompt determi-
  nation and makes it difficult to obtain affidavits from persons who would be competent to testify
  at trial,” and that “the trial court may give even inadmissible evidence some weight, when to do
  so serves the purpose of preventing irreparable harm before trial” (quoting Flynt Distrib. Co. v.
  Harvey, 734 F.2d 1389, 1394 (9th Cir. 1984)).
  6
    This declaration was later re-filed on the public docket and that public version is reproduced
  here as Ex. 10. See Dkt. 59.


                                                   5
Case 1:20-cv-00484-RDA-TCB Document 588 Filed 03/25/22 Page 7 of 11 PageID# 15274




  (D.S.C. Dec. 1, 2017) (same, stating that the district court erred in concluding that “‘admissible

  evidence is the deciding factor’” for preliminary relief).

         Amazon thus proposes to withdraw the verifications for its 2020 complaints contained in

  Exhibits 1-3. The substitute declaration Amazon proffers as Exhibit 9 to this motion would replace

  the 2020 declarations contained in Exhibits 4-8 with a single declaration that provides all the re-

  quired support for the pleadings those declarations supported without the unnecessary and mis-

  taken declarations of personal knowledge that were not (and are not) required by the law above.

  When Amazon discussed these issues with Defendants, they refused to consent to Amazon’s re-

  quest to withdraw the 2020 submissions and substitute the new declaration because they claimed

  that doing so would impact the sufficiency of the original pleadings the submissions supported.

  Amazon thus respectfully requests leave to file the new declaration without prejudice to any argu-

  ments Defendants may wish to raise on the corrected record.

  II.    The Shelton/Ford Test Supports a Protective Order

         The information above confirms that there is no valid basis for deposing the attorneys who

  signed the 2020 statements at issue in this motion. In this district, a party seeking to depose op-

  posing counsel must show that: “(1) no other means exist to obtain the information [requested];

  (2) the information sought is relevant and non-privileged; and (3) the information is crucial to the

  preparation of the case.” Ford Motor Co. v. Nat’l Indem. Co., 2013 WL 3831438, at *2 (E.D. Va.

  July 23, 2013) (quoting Shelton v. American Motors Corp., 805 F.2d 1323, 1327 (8th Cir. 1986)).

  The deposition requests here do not satisfy this test.

         The presumption against deposing an adversary’s counsel exists because such examina-

  tions can “provide a back-door method for attorneys to glean privileged information about an op-

  ponent’s litigation strategy from the opposing attorney’s awareness of various documents.” In re

  Subpoena Issued to Dennis Friedman, 350 F.3d 65, 70 (2d Cir. 2003); see generally Navient Sols.,


                                                    6
Case 1:20-cv-00484-RDA-TCB Document 588 Filed 03/25/22 Page 8 of 11 PageID# 15275




  LLC, v. Law Offices of Jeffrey Lohman, P.C., 2020 WL 6379233, at *5 (E.D. Va. Sept. 4, 2020)

  (disallowing deposition of opponent’s litigation counsel); Moody v. City of Newport New[s], 2016

  WL 9000275, at *3 (E.D. Va. Jan. 20, 2016) (same). Defendants’ requests to depose current and

  former members of Amazon’s outside litigation team implicate all of these concerns. And the

  proposed deponents here do not possess any knowledge that is both “crucial” to this case and

  undiscoverable through “other means.” Ford, 2013 WL 3831438, at *2.

         Defendants have not made any contrary showing. Specifically, they have not identified

  any information the proposed deponents have that Defendants “attempted to obtain” from all

  “other sources and w[ere] unsuccessful in doing so.” Moody, 2016 WL 9000275, at *2 (precluding

  attorney deposition on these grounds); see also Asbury v. Litton Loan Servicing, LP, 2009 WL

  973095, at *2 (S.D. W. Va. Apr. 9, 2009) (same); FTC v. Directv, Inc., 2016 WL 4154851, at *4

  (N.D. Cal. Aug. 5, 2016) (finding it “more convenient” and “less burdensome” for an opponent to

  depose a party fact witness than counsel) (quotation marks omitted). Defendants have likewise

  failed to identify any such information that is “crucial” to this case. See, e.g., FMC Techs., Inc. v.

  Edwards, 2007 WL 836709, at *5 (W.D. Wash. Mar. 15, 2007) (prohibiting attorney deposition

  that would be merely “helpful” to case preparation). Nor could Defendants identify such infor-

  mation given that (1) the 2020 statements that gave rise to the deposition requests concern plead-

  ings that have been superseded by subsequent filings7 or substantively developed through discov-

  ery and legal rulings that the requested depositions would not change,8 and (2) the attorneys that


  7
    See, e.g., Young v. City of Mount Ranier, 238 F.3d 567, 573 (4th Cir. 2001) (“an amended plead-
  ing supersedes the original pleading, rendering the original pleading of no effect”).
  8
    See Dkts. 57, 256, 319, 330, 413, 433; 11A Charles Alan Wright & Arthur R. Miller, Federal
  Practice & Procedure, § 1339 (4th ed.) (“The law is well settled that any objection to a failure to
  comply with a verification requirement must be raised immediately or not at all.”); Walker v. Kelly,
  589 F.3d 127, 137 (4th Cir. 2009) (interlocutory rulings such as preliminary injunctions constitute



                                                    7
Case 1:20-cv-00484-RDA-TCB Document 588 Filed 03/25/22 Page 9 of 11 PageID# 15276




  Defendants seek to depose have no knowledge of the facts underlying this case other than that

  obtained from information or documents possessed by Amazon, let alone knowledge that could

  not be obtained from other sources, including Amazon’s forthcoming 30(b)(6) deposition.

         For all of these reasons, a protective order is warranted. See Navient, 2020 WL 6379233,

  at *5 (granting protective order where party “failed to show that th[e] small universe of information

  [sought from counsel] is unavailable from other sources”); Moody, 2016 WL 9000275, at *2;

  (granting motion to quash where opposing party could obtain necessary information without “in-

  trud[ing] into the unfavored realm of deposing opposing counsel”).

                                              Conclusion

         To further the interests of all relevant parties and witnesses, Amazon respectfully seeks

  leave to withdraw the 2020 submissions in Exhibits 1- 8 of this motion and to file the new decla-

  ration proffered at Exhibit 9 (or other attestations in such form as the Court may require), and

  respectfully requests an order disallowing the three counsel depositions Defendants have noticed.




  law of the case, and cannot be revisited once subject to an appellate mandate); Myers v. Colvin,
  2015 WL 3830972, at *16 (E.D. Va. June 18, 2015) (same).

                                                   8
Case 1:20-cv-00484-RDA-TCB Document 588 Filed 03/25/22 Page 10 of 11 PageID# 15277




     Dated: March 25, 2022                      Respectfully submitted,                        D

                                                /s/ Michael R. Dziuban
                                                Elizabeth P. Papez (pro hac vice)              V
                                                Patrick F. Stokes (pro hac vice)               G
                                                Claudia M. Barrett (pro hac vice)              2
                                                David W. Casazza (pro hac vice)                D
                                                Michael R. Dziuban (Va. State Bar No. 89136)   T
                                                GIBSON, DUNN & CRUTCHER LLP                    F
                                                1050 Connecticut Avenue, N.W.                  v
                                                Washington, D.C. 20036-5306
                                                Telephone: (202) 955-8500
                                                Facsimile: (202) 467-0539
                                                epapez@gibsondunn.com
                                                pstokes@gibsondunn.com
                                                cbarrett@gibsondunn.com
                                                dcasazza@gibsondunn.com
                                                mdziuban@gibsondunn.com

             Counsel for Plaintiffs Amazon.com, Inc. and Amazon Data Services, Inc.




                                               9
Case 1:20-cv-00484-RDA-TCB Document 588 Filed 03/25/22 Page 11 of 11 PageID# 15278




                                   CERTIFICATE OF SERVICE

          I hereby certify that on March 25, 2022, I electronically filed the foregoing with the Clerk

   of Court using the CM/ECF system. I will then send the document and a notification of such filing

   (NEF) to the following parties via U.S. mail to their last-known address and by email, where noted:



                                                     Casey Kirschner
                                                     635 N. Alvarado Lane
                                                     Plymouth, MN 55447
                                                     By email: casey.kirschner@gmail.com
          :

                                                s/ Michael R. Dziuban
                                                Michael R. Dziuban
                                                GIBSON, DUNN & CRUTCHER LLP
                                                1050 Connecticut Avenue, N.W.
                                                Washington, D.C. 20036-5306
                                                Telephone: (202) 955-8500
                                                Facsimile: (202) 467-0539
                                                mdziuban@gibsondunn.com

                                                Counsel for Plaintiffs Amazon.com, Inc. and Amazon
                                                Data Services, Inc.




                                                   10
